     Case 2:19-cv-00912-GMN-EJY Document 37 Filed 10/20/20 Page 1 of 2




 1                                   UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3                                                   ***
 4   EMPLOYEE PAINTERS’ TRUST,                                Case No. 2:19-CV-00912-GMN-EJY
 5                  Plaintiff,
                                                                            ORDER
 6          v.
 7   BRANDON S. CLIFTON, an individual; and
     KIMBERLY A. COMINSKY, an individual;
 8
                    Defendants.
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10          On August 18, 2020, the Court issued an Order Setting Judgement Debtor Examination of
11   Brandon S. Clifton for October 20, 2020 at 1:00 p.m. in Courtroom 3C. ECF No. 32. At
12   approximately 1:19 p.m. on October 20, 2020, the Court called the matter and Counsel for Plaintiff
13   made his appearance. Mr. Clifton was not present. At the Court’s request, Plaintiff’s counsel made
14   a thorough record demonstrating that Mr. Clifton was properly served with the Order setting his
15   judgment debtor’s examination. The Court then discussed with Plaintiff the next steps Plaintiff
16   sought from the Court. Following this discussion, the Court concluded that a renewed order setting
17   the judgment debtor’s examination would issue together with an Order to Show Cause should Mr.
18   Clifton fail to appear as ordered.
19          Accordingly,
20          IT IS HEREBY ORDERED that Defendant Brandon S. Clifton is ordered to appear for his
21   judgment debtor’s examination on December 15, 2020, at 1:30 p.m., in Courtroom 3A of the
22   United States District Court, located at 333 Las Vegas Blvd. South, Las Vegas, Nevada 89101.
23          IT IS FURTHER ORDERED that Defendant Brandon S. Clifton shall bring with him to the
24   judgment debtor’s examination all documents and records in his possession, custody or control listed
25   on pages 2 through 5 in the August 18, 2020 Order (ECF No. 32), with which Defendant Brandon
26   S. Clifton was previously served.
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     Case 2:19-cv-00912-GMN-EJY Document 37 Filed 10/20/20 Page 2 of 2




 1          IT IS FURTHER ORDERED that if Defendant Brandon S. Clifton fails to appear for his

 2   judgment debtor’s examination on December 15, 2020, at the time and place stated above, he

 3   is ordered to show cause no later than December 22, 2020, why he should not be held in civil

 4   contempt and a warrant for his arrest should not issue.

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 6          Dated this 20th day of October, 2020

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                                                   ELAYNA J. YOUCHAH
10                                                 UNITED STATES MAGISTRATE JUDGE
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